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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

UNITED STATES                  *
                               *
   v.                          *      CRIM. NO. 3:20-928-01(FLW)
                               *
ANTHONY PENUELAZ               *
                               *
                             *****
 ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
             FOR FELONY PLEAS AND/OR SENTENCINGS

        In accordance with Standing Order 2020-06, this Court finds:

  ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

  ✔      That the proceeding(s) to be held today cannot be further delayed without serious harm

to the interests of justice, for the following specific reasons:

1) Inability to conduct in-person hearings for indefinite period; 2) consent of Defendant and
Defendant's desire to proceed at this time; and 3) to permit the United States to obtain a resolution of
the case.
Accordingly, the proceeding(s) held on this date may be conducted by:
   ✔      Video Teleconferencing

          Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

                  The Defendant (or the Juvenile) is detained at a facility lacking video

        teleconferencing capability.

                  Other:




Date:                                                                      October 27, 2020
                                                                   Honorable Freda L. Wolfson, Chief Judge
                                                                   United States District Judge
